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CONSENT T 0 BECOME PARTYPLAINTIFF

 

By my signature beloW, I hereby consent to become a party plaintiff and authorize the prosecution
to recover unpaid Wages in my name and on my behalf by Cesar Gallardo against any restaurant
owned and/ or operated by Tomas Leon or Roy Salvador, including but not limited to Los Portales
Bolivar, LLC, and Los Portales Henderson, LLC. . l designate the class representative, Cesar
Gallardo, as my agent to make decisions on my behalf concerning the litigation, the method and
manner of conducting this litigation, the entering of an agreement With Plaintiff’s counsel
concerning attorneys’ fees and costs, and all other matters pertaining to this lawsuit l agree to
keep counsel for Plaintiff informed as to my correct mailing address and telephone numberl

 

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